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                                 1:21-cv-01560-TWT
                               WS et al v. Ragsdale et al
                            Honorable Thomas W. Thrash, Jr.

                  Minute Sheet for proceedings held In Open Court via Zoom on 05/05/2021.


    TIME COURT COMMENCED: 2:00 P.M.
    TIME COURT CONCLUDED: 2:45 P.M.              COURT REPORTER: Diane Peede
    TIME IN COURT: 00:45                         DEPUTY CLERK: Jordyn Holder
    OFFICE LOCATION: Atlanta

ATTORNEY(S)         Robert Madayag representing AM
PRESENT:            Robert Madayag representing BG
                    Robert Madayag representing CG
                    Robert Madayag representing CH
                    Robert Madayag representing EM
                    Robert Madayag representing EW
                    Robert Madayag representing KH
                    Robert Madayag representing LH
                    Robert Madayag representing SH
                    Robert Madayag representing WS
                    Robert Madayag representing QC Brocard
                    Brandon Moulard representing Cobb County Board of Education
                    Brandon Moulard representing Brad Wheeler
                    Brandon Moulard representing Charisse Davis
                    Brandon Moulard representing Chris Ragsdale
                    Brandon Moulard representing David Banks
                    Brandon Moulard representing David Chastian
                    Brandon Moulard representing Jaha Howard
                    Brandon Moulard representing Leroy Tre' Hutchins
                    Brandon Moulard representing Randy Scamihorn
PROCEEDING
                    Motion Hearing(PI or TRO Hearing-Evidentiary);
CATEGORY:
MOTIONS RULED       [4]Motion for TRO DENIED
ON:
            Case 1:21-cv-01560-TWT Document 7 Filed 05/05/21 Page 2 of 2

MINUTE TEXT:      The Court heard oral arguments from the Plaintiffs and Defendants on
                  Plaintiffs' Motion for Temporary Restraining Order and Preliminary
                  Injunction [Doc. #4]. Defendants' Exhibit D1 was admitted to the record.
                  The Court DENIED the Motion for Temporary Restraining Order and
                  Preliminary Injunction [Doc. #4] for reasons stated on the record.
                  Defendants were directed to submit a proposed order denying the Plantiffs'
                  motion to the Court for its review. Court adjourned.
HEARING STATUS:   Hearing Concluded
EXHIBIT STATUS:   Exhibits retained by the Court to be forwarded to the Clerks Office.
